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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION
UNITED STATES OF AMERICA                          §
                                                  §
vs.                                               §             No. 6:23-CR-242-ADA
                                                  §
                                                  §
KEVIN BROWN                                       §
                                                  §


                MEMORANDUM AND RECOMMENDATION

         Pursuant to the referral by the District Judge, the defendant, the defendant’s attorney and

the attorney for the government appeared before the undersigned Magistrate Judge on March 18,

2025, for the purpose of the defendant’s entry of a plea of guilty. At that time the defendant entered

a guilty plea as stated on the record. The Magistrate Judge addressed the defendant personally in

open court and, after assuring that the defendant was competent to proceed and had consented to

pleading guilty before a Magistrate Judge, admonished the defendant in accordance with Rule 11,

Fed. R. Crim. P., of the nature of the charge, the possible penalties, the defendant’s constitutional

and statutory rights, and the consequences of pleading guilty. The defendant acknowledged

understanding these admonishments. The undersigned also addressed the defendant concerning

the voluntariness of the guilty plea. Finally, the undersigned assured the existence of a factual basis

for the guilty plea. Based upon the answers to the court’s questions from the defendant and from

counsel, the Magistrate Judge makes the following findings:

      1. the defendant is competent to stand trial;

      2. the defendant has consented to plead guilty before a Magistrate Judge;

      3. the defendant fully understands the nature of the charge and the penalties;



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   4. the defendant understands defendant’s constitutional and statutory rights and desires to
      waive them;

   5. the defendant’s plea is freely, knowingly and voluntarily made;

   6. the defendant is satisfied with their attorney’s representation and has no complaints
      regarding the attorney’s representation of any type; and

   7. there is a factual basis for the plea.

                                     RECOMMENDATION

         It is, therefore, the recommendation of the Magistrate Judge that the guilty plea be

ACCEPTED and that a Judgment of guilt be entered against the defendant.


                                  Instructions for Service and
                                Notice of Right to Appeal/Object

         The United States District Clerk shall serve a copy of this Memorandum and

Recommendation on all parties either (1) electronic transmittal to all parties represented by an

attorney registered as a Filing User with the Clerk of Court pursuant to the Court's Procedural

Rules for Electronic Filing in Civil and Criminal Cases; or (2) by certified mail, return receipt

requested, to any party not represented by an attorney registered as a Filing User. Pursuant to Title

28 U.S.C. Section 636 (b)(1) and Rule 59(b)(2), Fed. R. Crim. P., any party who desires to object

to this report must serve and file written objections to the Memorandum and Recommendation

within 14 days after being served with a copy unless this time period is modified by the district

court.    A party filing objections must specifically identify those findings, conclusions or

recommendations. to which objections are being made and the basis for such objections; the district

court need not consider frivolous, conclusive or general objections. Such party shall file the

objections with the clerk of court, and serve the objections on all other parties and the Magistrate

Judge. A party's failure to file written objections to the proposed findings, conclusions and



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recommendations contained in this report shall bar the party from a de novo determination by the

district court. See Thomas v. Arn, 474 U.S. 140, 150, 106 S. Ct. 466, 472, 88 L.Ed.2d 435 (1985).

Additionally, any failure to file written objections to the proposed findings, conclusions and

recommendation contained in this Memorandum and Recommendation within 14 days after being

served with a copy shall bar the aggrieved party, except upon grounds of plain error, from attacking

on appeal the unobjected-to proposed factual findings and legal conclusions accepted by the

district court. Douglass v. United Services Automobile Association, 79 F.3d 1415, 1428-29 (5th

Cir. 1996).


       SIGNED this 18th day of March, 2025.


                                                     ____________________________________
                                                     DEREK T. GILLILAND
                                                     UNITED STATES MAGISTRATE JUDGE




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